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ALISON VALENTEH, JENNIFER
BARLOW, KATHRYN MONROE, SOPHIA
SMITH, STEPHANIE LEBEAU on
behalf of themselves and all
others similarly situated,

Vs.

INTERNATIONAL FOLLIES, INC.,
d/b/a THE CHEETAH and WILLIAM

HAGOOD,

IN THE UNITED STATES DISTRICT COURT
FOR THERE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

Plaintifis,
CIVIL ACTION FILE No,

1L:15-CV-02477~-ELR

Defendants.

 

DEPOSITION OF

ROBERT ‘BOB! JOHNSON

OCTOBER 23, 2017
4:32 p.m.
SCHULTEN, WARD, TURNER & WEISS, LLP

260 Peachtree Street NW, Suite 2700
Atlanta, Georgia 30303

KEK KKE KEKE KK EKER RK KKK KEKE ARK KR AERA KK KKK KK

Whitney S. Guynes, CCR

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On behalf

Also Pres

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By
By
By
By
By

By

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WITNESS: ROBERT 'BOB' JOHNSON

BXAMINATION

Mr.

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Mr.

Mr.

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Mr.

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Berney:

Chapman:

Dudley:

Dudley:

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PLAINTIFF'S EXHIBITS

Exhibit 4 Night Shift Entertainer
Orientation & Guidelines

(Exhibit 4 marked originally in the deposition of
Holly Wood, October 23, 2017.)

 

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EXHIBIT DESCRIPTION PAGE

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6 Robert 'Bob’ Johnson - October 23, 2017

 

 

(Reporter disclosure made pursuant to
Article 10.B of the Rules and Regulations of

the Board of Court Reporting of the Judicial
Council of Georgia.)

kok ok
Deposition of ROBERT 'BOB' JOHNSON
OCTOBER 23, 2017
WHEREUPON :
ROBERT 'BOB! JOHNSON,

having been first duly sworn, was examined and

testified as follows:

EXAMINATION

BY MR. DUDLEY:

QO Your name is Robert Johnston or is it
Johnson?

A Johnson.

Q You go by Bob?

A Yes, sir.

Q My name is Ainsworth Dudley. I represent

a number of former and current entertainers at
Cheetah, and they have filed arbitrations, and there
is a collective action pending, and I'm here today to
talk to you about their claims.

My understanding is that you have given a

deposition before in a Title VII case brought by

 

 

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Robert 'Bob' Johnson - October 23, 2017

 

 

Alison Valente; is that right?
A Yes.

QO Other than that deposition, have you ever

been deposed before on behalf of Cheetah?

A Ne.

QO You've worked for Cheetah since 1990?

A Yes.

QO You initially were a floorman?

A Yes.

oO And you are currently the night manager,
correct?

A Yes.

QO And as night manager you oversee

operations during the night shift; is that right?

A Yes, sir.

Q The only person you answer to is Jack
Braglia; is that right?
A Yes.

oO Other than that, you're the highest

authority on the premises, unless Jack is there or Mr.

Hagood, right?
A Correct.

Q Do you still take orders from Mr. Hagood

or is he not involved in the process?.

A Pretty much not involved.

 

 

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Q But he does show up occasionally at the
club?

A Yes.

QO Can you tell me roughly when you became

night manager?

A Maybe 10 years ago, maybe nine.

Q So somewhere around 2007, 2008?

A Yeah, give or take a year.

Q Can you tell me what your duties as night

Manager are?

A I supervise any operations, front of the
house, associated with customers' interaction with
guests, entertainers, service staff, front door. T'm™m
usually not involved in the kitchen. We have two
kitchen managers that deal with the kitchen guys, but
I'm pretty much supervising the front of the house

operations at night.

Q How do your duties differ from what a
floor manager does?

A Well, I'm kind of still head of security,
and I still get in with asking people to leave. If
there's an issue with a customer, I'm usually the
person to speak with them and decide whether or not we

escort them out or not.

QO So the overlap in responsibilities, is

 

 

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that you're head of security, and you still deal with

issues with customers?

A Yes, sir.

Q Any other overlap of your duties as a
night manager with duties of a floor manager?

A Yes. I still would consider myself a
bouncer and manager, if that's what you are asking.

Q That's what I'm asking. What is the
overlap? _ What are you doing that a floor manager
does?

A I stand and spot problems. Looking around
for customers doing something wrong.

Q- Anything else that you do as a night

manager that a floor manager does?

A Greet customers, seat customers.
Q Anything else?
A Other than escorting people out, that's

pretty much it.

Q What's the normal process for greeting and

seating customers?

A I'm not following you.
QO Who normally does that?
A We usually have a floorman posted at the

front of the room.

Q All right. And this person will --

 

 

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10 Robert 'Bob' Johnson - October 23, 2017

 

 

typically, will greet the customers and seat them,

correct?

A Yes.

QO How many floormen are under you doing
that?

A Four.

QO All right. So is there one particular

floorman that usually does that or are they all doing
it?

A We have, counting myself, three people on
the main floor.

QO Okay.

A So there's usually someone at the point

greeting customers, whether it's two of the other guys

or myself.
Q Who typically does it?

A The floorman that's posted in the front of

the room.

Q And how much of your time is spent doing

that, would you say, greeting and seating customers?

A A lot.

QO Can you give me some idea?

A 20 percent of the night.

Q Floormen typically escort people out who

are causing problems in the club?

 

 

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Yes.

Sometimes you will help them with that?

Yes,

oO Fr O BP

All right. And how often do y'all have to

escort somebody out?

A Every night.

Q Every night?

A couple of people or how many would you

say?

A Yeah, a couple -- two to five.

Q All right. How many people will typically
escort somebody out who is causing a problem?

A I didn't understand your question.

Q Well, how many floormen would typically

escort out a person who is causing a problem? Is that

normally something that --

A All of us.

Q So if a customer is causing a problem, all
four of y'all descend on him and escort him out?

A Yes. We call on the radio that there is
someone going.

Q Okay. And you, I guess, escorted him out
and called the police or what do you do?

A Tt depends on what's going on. We do have

to call the police occasionally if they refuse to

 

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12 Robert 'Bob' Johnson - October 23, 2017
leave --

Q Okay.

A -- but generally, no.

Okay. So it's an unusual case to call the
police. Normally, they will leave and there's no
problem?

A Correct.
Q And you would say that you estimate that

you escort a couple of people out a night, correct?
A Correct.
Q Is that the total number of people that

the club escorts out a night, or is that ones you're

involved in?

A That would be the club.

QO How many of those would you be involved
in?

A I'm involved in all of them.

QO All of them?

A Uh-huh.

oO What kind of issues with customers do you

involve yourself in, as opposed to, say, one of your

night managers?
A I'm not following you.

Q Well, you told me that you deal with

issues with customers?

 

 

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A Uh-huh.
Q And I read from your prior transcript that

you deal with some issues with chargebacks, right?

A Yes,

oO You handle that?

A Sometimes.

Q When do you handle it and when does

somebody else handle it?

A When Liz feels that she can't satisfy the
customers' questions, occasionally she will refer them
up to me, and I will speak with a customer.

QO Okay. But you deal with the customer
chargebacks, your floormen don't deal with customer
chargebacks, do they?

A No.

QO Okay. What sort of issues do you have --
do customers have at The Cheetah, other than

chargebacks?

A It's a wide variety. It could be my steak
is not cooked properly -- it could be anything. That
dancer took my money, she didn't dance for me. A
fight --

Q You're the person that everyone goes to

Eor those issues?

A I'm the problem guy.

 

 

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14 Robert ‘Bob’ Johnson - October 23, 2017

 

 

Q All right. So if an entertainer has a
problem or a house mom has a problem or a floorman has
a problem or a customer has anything other than a very
trivial problem, they're going to come to you?

A Yes.

Q All right. What sort of problems would
the floormen handle without your participation?

A I have a floorman in the Executive Room
that helps with minor things, like -- that dancer
never came to dance for me. He can go find the
dancer, get her to come dance ~~ very minor things.

If there's ever a waitress that needs a
check voided or a split check, just something that's
simple to where it's swiping the manager card, he can

do that. But if there was an actual problem with the

computer, then they would call me. But minor customer
things, not -- he doesn't handle anything really
major.

Q So there are distinct differences between

what you will handle and what one of your floor

managers will handle?

A Yes.

Q Tell me what your floor managers spend

most of their time doing?

A Seating customers, finding dancers for

 

 

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customers, watching over the club, general security,

cleaning.
QO Let me make sure I understand how the
floormen operate at Cheetah.
You have a VIP area where there's a

floorman at a booth -- or desk, I guess you'd call it.
Do you have a name for it?

A The Executive Room.

O But there's a -- when you come in there,
there's somebody at the podium or do you call it the
desk or what do you call it?

A We call it the host stand.

Q The host stand.

Is a floorman always there?

A No.

Q Who is normally maintaining that post, a
hostess or a floorman?

A A £loorman.

Q All right. So a floorman is supposed to
be there?

A Not always. He has other duties, but
that's where he is when he's not busy greeting people.

Qo Is there a floorman that's supposed to be
maintaining that position?

A The waitresses help him out with greeting

 

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16 Robert ‘Bob’ Johnson - October 23, 2017

 

 

people at the host stand.

Q Okay. So one floorman or a waitress will

greet people?

A Yes.

Q And then there's a big room, what do you
call that -- the main room at Cheetah?

A Main room.

Q You call it the main room?

A (Nods head. )

Q And there's a lot going on in there,
right?

A Yes.

Q How many flicormen would you have in that

room at a given time?
A Three, counting myself.

Q All right. So they're kind of looking

over the main room and making sure everything is --

A Yes.

oO -- operating smoothly?

A Yes.

Q Where else would the floormen typically be

at The Cheetah, other than those two places?
A Front door.

o Front door. So is that a -- there's only

four of you guys, right?

 

 

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Robert 'Bob' Johnson - October 23, 2017 17
Five.
Five. So one is at the front door?
Yes,

One is at the VIP --

PO PF O P

Yes.

-- hostess spot. Two to three of them are

looking over the floor at any one time?

A Yes.

Qo And that's pretty much standard procedure?
A Yes.

Q Where are you, usually?

A Everywhere.

Q All right. So you're walking around the

whole place while all of this is going on?

A Yes.

Q So that's three floormen in the room.
You're the -- would be the sixth guy?

A No.

Q You're the fifth guy?

A Yes.

QO Well, if you're walking around, it's kind

of hard to keep three in there in the main room --
A You're putting words in my mouth. I never
said there's always three floormen on the main floor.

QO And I understand that there's a certain

 

 

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18 Robert 'Bob' Johnson - October 23, 2017

 

 

amount of movement -- that all of them may leave if
they're escorting somebody out, but typically how many
do you want in there? You have four floormen other
than yourself, so how many of those are in the main
room?

A I always want one pair of eyes, for sure,
on the main floor, no matter what's going on.

QO All right. Your floormen receive tips
every night; is that correct?

A Correct.

Q All right. And in your deposition you
testified that there is a $15 minimum tip out for the
floor guys. That's a quote.

Is that a true statement?

A A suggested $15 tip out, yes.

Well, let me read that to you again.

You testified that there was a $15 -- and
you used the word "minimum tip out for the floor
guys."

Tell me what you meant by $15 minimum tip
out?

MR. WARD: I'm going to object to the form

of this question as improper impeachment.
BY MR. DUDLEY:

QO You can answer.

 

 

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Robert ‘Bob’ Johnson - October 23, 2017 19

 

 

BY MR.

girls

MR. WARD: I'll let you do it a couple of

times, but after that --

DUDLEY :

Q Can you tell me what you meant by that?
A That's just the standard minimum that the
tipped out.

QO To the floormen as a group?
A Yes.

MR. WARD: May I see his testimony, under
the Doctrine of Completeness, which you have
quoted to him?

MR. DUDLEY: I'm going to read it to you,
and you tell me whether this is what you recall.

MR. WARD: No, he's entitled to see his
testimony.

MR. DUDLEY: I'll be glad to give it to
him. I can ask him what he testified to.

MR. WARD: No, you can't.

MR. DUDLEY: Kevin, I can do that, and if
he wants to see it, y'all can see it. You've
got the deposition.

MR. WARD: It is improper impeachment, and
we will go to the court on this.

MR. DUDLEY: You can object to the form of

the question, if you want to. I can ask him

 

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20 Robert ‘Bob’ Johnson - October 23, 2017

 

 

what he recalls testifying to in his deposition.
MR. WARD: No, you can't. That is
improper impeachment.
BY MR. DUDLEY:
Q You were asked, to the best of your
understanding, did a floorman's pay include only tips

and their salary or their nightly shift fee back in

2009.
Do you remember somebody asking you that
question?
A Repeat it.
Q Do you remember Jim McDonough asking you

to the best of your understanding, did a floorman's
pay include only tips and their salary or their
nightly shift fee back in 2009.

Do you remember that question?

MR. WARD: So, again, I'm going to object
to the form of the question. It's improper
impeachment. It violates the Rules of Evidence.

MR. DUDLEY: Do you want to just have a
continuing objection on that?

MR. WARD: Well, I'm about to instruct him

not to answer.
MR. DUDLEY: I think that would be a

mistake, but you can do whatever you want.

 

 

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MR. WARD: Okay. So are you going to let

him see his testimony?

MR. DUDLEY: I'm going to -- he can look
at it as much as he wants to, but I'm going to
ask the question --

MR. WARD: So give us a copy of the
deposition --

MR. DUDLEY: You can do whatever you want

to do, Kevin. You're going to have a chance to
examine him, too. You can do whatever you want
to do.

MR. WARD: I'm going to object to the form

of the imoeachment.

MR. DUDLEY: You've done that. You've
done that.

MR. WARD: I'm going to go to the judge if
you persist on violating this rule.

MR. DUDLEY: All right. Well, I'm going
to ask him whether he recalls being asked that
question. That's a perfectly appropriate
question.

MR. WARD: Not if you're relying on the
testimony without letting him see it.

MR. DUDLEY: I can ask the question. You

can make your objection. If you're right, it

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won't come in. Okay?

MR. WARD: It's not a question of coming
in. It's a question of the way that you're
asking the questions when they violate the Rules

of Evidence.

MR. DUDLEY: Kevin, you've made the

objection.

MR. WARD: Okay. I'm telling you, I'm
taking this up.

MR. DUDLEY: You can take it up.

MR. WARD: We're going to stop.

MR. DUDLEY: You can take it up, and if
you feel like it's important enough to get the
judge on the line --

MR. WARD: It's important if that's the
way you're going to approach this.

MR. DUDLEY: Do you recall that question
being asked you?

THE WITNESS: Am I answering?

MR. WARD: He's asking you if you have a
present memory of that question being asked

when? What date?

MR. DUDLEY: April the 4th, 2017, by Jim

McDonough.

MR. WARD: Do you have a present memory of

 

 

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that?

THE WITNESS: No, not really. IT mean, I
answered a lot of questions.

BY MR. DUDLEY:

Q Okay. Do you have a present memory of
responding: In 2009, there's a $15 minimum tip out
for the floor guys from each dancer?

MR. WARD: Object and move to strike.
He is asking if you have a present
- objection of your answer back in April.
THE WITNESS: Do I have an objection?
MR. WARD: No, do you have a present
recollection of your answer in April?
THE WITNESS: No. I mean, I don't know.
I haven't read my deposition.
MR. DUDLEY: If you don't recall it, you
don't recall.
MR. WARD: There you go.
BY MR. DUDLEY:

QO What does "minimum" mean to you?

A The less that they tip the -- the least
that they tip out.

Q Did the $15 minimum tip-out policy change
in April 2016?

MR. WARD: Object to the form.

 

 

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BY MR. DUDLEY:

Q You can respond.

A Yes.

Q How did it change?

A Tt went to a 10 percent tip pool.

Q Tell me how the 10 percent tip pool
worked.

A It's split up amongst all the floor staff,

myself and the DJs.

Q All right. So tell me the break up. How
much did the DJ get? How much did the floormen get?
A Halt.
oO So 50 percent went to the Dd, and
50 percent went to the floormen; is that correct?
A Yes.

Q All right. What portion of the 50 percent

that went to the floormen did you get?

A A fifth.

Q All right. And is it always a £ifth?
A Yes.

Q Are there ever less than five guys

handling floor responsibilities?

A Sometimes, if someone is out sick.
Q What would happen in that circumstance?
A Then it would be a fourth,

 

 

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QD Okay. And if there were three, it would

be a third, right?
A Third.

Q Okay. Did you keep records of the amounts
that you were tipped out by entertainers?

A No.

Q Do you have any records that would show me

what you or any of the floormen earned in tip outs

from entertainers?

A No.

Q You're an employee of Cheetah?

A Yes.

Q You were an employee of Cheetah during

this period of time before April the 9th, 2016?
A Yes.
QO You were an employee the entire time you
were a night manager?
Yes.
Does Cheetah issue a W-2 now?
To me?
Yeah.
Yes.
Do you get a W-2?

Yes.

Oo Fr 0 fr 0 FP O PF

Has that always been the case?

 

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A yes.

Q .Is there an amount claimed as a tip on the
W-2°?

A I claim one to 200 a night -- you mean

clocking out?

Q I'll get to that in a second, but TI'm
talking about your W-2 form right now. Cheetah, at

the beginning of the year, gives you a W-2 for the

preceding year, correct?
A Correct.

Oo And, on that W-2, does it show your

earnings from tips?

A No.
Q So there is a block, I'll represent to you
on a W-2 form, where you can put tips. There is no

amount for tips on the W-2 that Cheetah gives to you,
right?

A No.

Q So how did you keep up with your tips on,
say, a shift/weekly/yearly basis?

A You just kind of know in your head what

you're making each night.

You're pretty constant?

A Yeah.

Would you say that it's constant because

 

 

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entertainers -- the number of entertainers working at

night stays about the same?

A Uh-huh, yes.

QO And the amounts they tip stays about the
same?

A Yes.

Q And that figure would be $15 per dancer?

A Yes.

QO Are floormen tipped by any other employees

or persons who work at Cheetah?

A Yeah, I think a waitress would tip them

out from time to time if they helped them with their

tables, busing or -- yeah.
Q Is that part of a tip pool?
A No.
QO So the entertainers are the only ones that

have a tip pool to pay floormen?

A Yes.

QO Customers sometimes tip for them?
A Yes.

Q DJs do not tip floormen, do they?
A No.

Q Before April the 9th, 2016, do you

remember how entertainer tips worked for house moms,

DJs -- other folks?

~

 

 

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28 Robert 'Bob' Johnson - October 23, 2017

 

 

A I believe it was they generally gave 10 to

the house mothers between the two of them.

Q How do you know that?

A Because I've been there for 20-something
years, and you just hear it.

Q Okay. Is it your understanding that there
was a $10 minimum for the house moms?

A There was a minimum, but that's generally

what the girls gave.

O Are you saying they gave more than that?
MR. WARD: What?
BY MR. DUDLEY:

Q Did you say it's not a minimum, but that's
generally what they gave? Is that what you said?

A I'm saying that that was a suggested tip
for the house mothers, was $10, but if a girl gave
more, they gave more. I'm sure it's happened, but I
don't know what they give.

QO Did they give less?

Oh, yeah.

How do you know that?

There's been many that give zero.
How do you know that?

Because I hear it.

Oo Fr OO PF O PF

Hear it from who?

 

 

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A The house mothers and the dancers.
There's girls that come every night that say I can't
tip.

QO Before April the 9th, 2016, how did the

entertainers' tip out to the DJ work?

A 5 percent.
Oo Was that a mandatory amount?
A Nothing was mandatory, and I think they

capped it at $50.
QO How do you know that?

A Yet again, I've been there since 1990.

You hear what's going on.

0 Have you seen the tip-out sheet on the

wall in the dressing room?

A There is no tip-out sheet on the wall in
the dressing room.
Oo There was at one time, wasn't there?

A There was a sliding scale on the desk at

one time.

Q And is that what you're referring to?

A I think that's what you're referring to.

Q Well, you were referring to something, so
I'm referring to that now. Is that what you were

referring to when you were testifying about the $50

and the 5 percent?

 

 

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A Yeah.

O That's where that comes from; is that
right?

A Yes.

QO Okay. Have you ever read Cheetah's

Entertainer Guidelines?

A Yes.

Q Have you read the parts dealing with tip
outs for floormen, house moms and Duds?

A I don't know if there is in there.

Q Do you recognize four?

MR. DUDLEY: Do you have the exhibits from

the last --
COURT REPORTER: I do.
(Discussion off the record.)
(Plaintiff's Exhibit 4 marked for
identification.)
THE WITNESS: This isn't what they give
them when they do their new-hire packet. This

is -- actually, no, I haven't read a lot of

this.

BY MR. DUDLEY:

Q How do you know what they're given in
\

their hiring packet?

A Because it's the same thing, I would

 

 

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imagine, that's in the waitress new-hire packet.

No, I've never read through this sheet.

QO Weli, okay. I would ask you to turn to
Page &.

A (Complies.)

0 Are you on Page 8?

A Uh-huh. Yes.

Q If you look at the first bullet point

Galled house mom tip out. Could you read the second
to the last sentence?

A "You can find the house moms' tip bucket
on her desk. Minimum for house moms is $10. Please
remember you have two house moms."

Q If you were reading this, how would you
interpret that middie sentence, "Minimum for house
moms is $10"?

MR. WARD: Objection and move to strike.
THE WITNESS: I would take it as they're
suggesting you tip $10.
BY MR. DUDLEY:

Q You would take the language "Minimum for
house moms is $10" to mean it's suggested that you pay
$10?

A Yes.

Q Does "minimum" mean "at least" to you?

 

 

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32 Robert 'Bob' Johnson - October 23, 2017
A Yes.
QO Tf you go to the preceding page,
Paragraph -- or Page 7.

MR. WARD: Can I just have a continuing
objection about this document that he's never
read before.

MR. DUDLEY: Yes. He's made that clear,
and I'm just asking him how he would interpret
it, which is an issue in the case.

BY MR. DUDLEY:

QO If you go to the last bullet point on

Page 7. Are you there?

A DI?

QO Yeah. Do you see that part in the
parentheses?

A Yes.

QO Can you read that to me?

A "There's a tipping chart on the house

moms' desk if you are not sure what you should tip."
oO All right. The chart we're talking about
in this document is the same chart you and I just

talked about; is that correct?

A Yes.
Q Do you understand that that chart has at
the top, "Minimum of 5 percent"?

 

 

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that?

A

Do you understand that?

No.

You don't understand that chart to say

I couldn't tell you everything that chat

said, but I couldn't tell you with all certainly that

that chart said "minimum."

Q All right. If it said "Minimum of
5 percent," what would that mean to you?
MR. WARD: Object to the form; calls for
speculation.

THE WITNESS: It would mean you're

suggesting they tip out at least 5 percent.

BY MR. DUDLEY:

Tt wouldn't mean at least 5 percent?
That's what I just said.
No, that's not what you said.

MR. WARD: Objection.

BY MR. DUDLEY:

Q Would it mean that to you?

A Yes.

QO At least 5 percent?

A Yes.

Q You have the power to discipline Cheetah
entertainers?

 

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A Yes.

oO You have the power to discipline Cheetah
floormen?

A Yes.

Q You have the power to discipline other

Cheetah employees working night shift?

A Yes.

0 You have exercised that power?
A Yes,

Q And discipline includes a verbal

reprimand, suspension, termination, those sorts of

things, correct?

A Correct.

Q And, as I recall your earlier testimony in
deposition, you have the independent authority to fine

[sic]. You usually run it by Jack, but you have that

authority, correct?

A To fire?

Oo Yes.

A Yes.

Q Are you aware of a policy at Cheetah at

one point where entertainers paid referral fees to
floor managers?
A Where they paid what, I'm sorry?

Q Referral fees to floor managers for

 

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referring VIP customers?

A That's not a policy.

QO All right. You acknowledge that that
happened at one point?

A Yes.

oO You disagree with me over whether that was
a Cheetah policy, correct?

A Yes.

Q All right. Can you tell me why you
disagree that that's a Cheetah policy?

A Because it wasn't. It was never asked of
anyone. Several girls started taking it upon
themselves to offer money to help them out.

Q Okay. Let's back up here a minute.

This was an arrangement to where the
Lloormen were getting 20 to 30 percent for referring
customers to entertainers?
MR. WARD: Object to the form.
THE WITNESS: I disagree that there's any
arrangement there. A girl comes and offers --

puts money in someone's hand and says to help

them out.

BY MR. DUDLEY:

Q So it's your contention that entertainers

had no arrangement with any floormen, including

 

 

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36 ' Robert 'Bob' Johnson - October 23, 2017

 

 

yourself, to pay a referral fee?

A Correct.

Q All vight. And it's your testimony that
if that happened it was solely because the entertainer
just handed the floorman the money for the referral?

A Yes.

QO There's no prior understanding between
them that there would be a referral fee changing
hands?

A No.

QO You know that that happened --
entertainers paying referral fees?

MR. WARD: Object to the form.
THE WITNESS: Yes.
BY MR. DUDLEY:

Q And the reason you know that is because

you shared in it, correct?

A Yes.

Q You got a cut of all the fees that an

entertainer paid to floormen for referring customers

to them, correct?

A (Nods head. }

oO What was your cut of that?

A Everything is split equally.

QO Okay. So if there were five floormen, it

 

 

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would be one-fifth or four it would be one-fourth?

A Yes.

Q Do you have records or are you aware of
any records existing that would show how much
entertainers paid in these referral fees?

A No.

QO Can you tell me what you recall these
referral fees being a shift, back when it was going
on?

A No.

Q Can you tell me how many giris were

involved in the process?

A On a nightly basis?

Oo Sure.

A Several.

Q You don't disagree with the statement that

floormen were referring customers to girls and that
those girls were tipping them out for doing that?
A No, I don't disagree with that.

Q Are you aware of Cheetah maintaining

records of VIP check-in fees?

A No.

Q Tell me how you kept track of it.

A Ionever kept track of any VIP fees. That
was the --

 

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Qo Tell me what floormen were supposed to do
with respect to VIP check-in fees.

A We call it in to the house mother.

QO Okay. So if an entertainer checked in to
VIP, the floorman's responsibility or duty was to call
the house mom and tell her that so-and-so was checked
in?

A Yes.

oO And each time there was a renewal, the
floorman was supposed to call again and notify the
house mom, correct?

A No.

Q So how was it kept up with how many
check-ins there were?

A It's called in, and when the dancer is
done, they tell the floorman, I'm done, and then the

floorman calls to the house mother and says that

they're done.

QO Does that floorman tell the house mom how

X

many check-ins there were?

A I'm not following you.
QO Well, my understanding is that --
check-ins are done on a 30-minute or hour basis. TE

it rolls over to another hour and 30 minutes or two

hours, there's another check-in charge.

 

 

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So, you cannot determine the check-in
unless you, I guess, notify the house mom how long

they're going to be in there.

A Right. But, as I said, they notify them
when they're done -- when they start and when they're
done, whether that's one hour or five hours. So when

a dancer says, I'm done, we're going to assume, if
it's five hours later, that she's beén with that
person for five hours.

Q Do floormen write this down anywhere?

A I think actually Guy does in the Executive
Room sometimes.

QO Okay. But Cheetah's policy is to just let
the house mom know and let her deal with it?

A Correct.

MR. WARD: hook, it's obvious that we're
going to go past the time that I need to make
some calls. Can we take a break and let me make
some calls?

MR. DUDLEY: I'm really not going to take
long, but go ahead. We can take a short --

MR. WARD: Out of just respect for some
people with much more stature than me, I'd like

to let them know --

MR. DUDLEY: I don't want to get you in

 

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trouble with anyone.
MR. WARD: I'm already in trouble, but --
{Short break.)
BY MR, DUDLEY:
Q IT want to make sure I understood your
answer to my question earlier.
Were you aware that certain entertainers
were paying floor managers 20 percent or more of their
income in exchange for referring customers to those

entertainers?

MR. WARD: That's asked and answered,
yeah.

THE WITNESS: I don't really know where
this 20 percent thing came from, but to answer
you the best I can, I was aware that dancers
tipped floormen for help in VIP; but as far as
how much they were giving them -- to me this
whole 20 percent thing, I don't get it.

BY MR. DUDLEY:

oO What I'm asking you is: Did they do it in

exchange for the referral?

A Yes.

Q - Okay. And this policy -- I know you deny
it's a policy -- this practice changed when?

A April of 2016.

 

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QO Okay. And just to be sure about this, you
took a portion of tips that were in exchange for a
referral?

A I took a portion of everything the
Lloormen make. It's pooled into one pool at the end
of the night and split up five ways.

QO And some of that is tips in exchange for
referring customers?

A Yes.

Q And yet you still contend that that's not
a Cheetah policy?

A It's not.

Q Even though the night manager is

participating in it, you say it's not a Cheetah

policy?

A It's not a policy.

Q Is that your policy or whose policy is it?

A It's no one's policy.

Q Was that policy investigated by anyone at
Cheetah?

A No.

Q The Cheetah didn't feel the need to look

into it and see whether things should be changed?

A No.

MR. WARD: I'm going to object to the

 

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form.

BY MR. DUDLEY:

QO Do you know who stopped that policy?

A Mr. Hagood.

Q Why did he do that?

A You'd have to ask him.

Q What sort of things did you discipline

entertainers for?

A Usually dancing dirty, being caught with a
sex act. That's most of the things that I would
discipline an entertainer for.

Q Were you involved in the discipline of any
dancer for not getting a cover?

A No.

Qo Were you involved in the discipline of any
dancer for not showing up for a cover?

A No.

Q Were you involved in the discipline of any
dancer for not tipping out enough?

A No.

0 If an entertainer told me that you
reprimanded her about not tipping out enough, that
would be an incorrect statement?

A Yes, it would.

QO What time does the club close down?

 

 

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Robert ‘Bob’ Johnson - October 23, 2017 43
A 2:45.
QO What time is the parking lot usually
clear?
A 3:05, 3:10.
Q What's the latest you ever recall it

taking to clear the parking lot?

A 3:15, 3:20.

QO If an entertainer works after 2:45, is it
Cheetah's policy to clear the lot before that
entertainer is allowed to leave?

A Repeat that, please.

QO If an entertainer is at work after 2:45,
is it Cheetah's policy to clear the lot before an
entertainer is allowed to leave?

A If they are driving, we request they wait
until we have all the guests off the lot, for their
safety.

QO Okay. Are you involved in the check-out

process that an entertainer goes through with the

£loormen?
A No.
You're not involved in that at all?
A (Shakes head.) No.
QO What about before April the 9th, 2016?
A No.

 

 

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44 Robert 'Bob' Johnson - October 23, 2017
oO Who handles that?
A The floormen's interaction with the

dancers’ check out?

Q Yes.

A Various guys.

QO ALL floormen?

A They take turns.

Q What is it you understand they do during
this check-out process?
A One guy breathalyzes girls, one guy

collects money, one guy is outside in the lot, and one

guy is organizing all the money -- counting all the
money .

Oo Counting what money?

A Their tips.

Q How long does it take to get all the girls

through that process?

A It's an ongoing process. They start
leaving as early as 10:00, sometimes, and then they
tip the various people, check out, breathalyze.

So when we -- if you're asking me from the
minute we close? Let me make sure I'm understanding

your question.

Q Well, let's say if an entertainer stays at

work until 2:45, and begins the check out after that

 

 

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time, how long does that process take for the
floormen?

OA Depending on how long it takes the
entertainer to get dressed, they can be out right
after 3:00, as soon as the all-clear is given outside.

Q And then it could take as long as what?

A Yet again, some girls linger, hang around
waiting to pass a breathalyzer --

Q I'm not asking you what they're doing.
I'm just saying, how long it would take to go through?

A I'm trying to explain to you that's a
varied amount of time, depending on the entertainer,
depending on what they do. Sometimes they're
talking -- talking to their boyfriends, talking to
their friends. Sometimes they get dressed lickety

split and get out of dodge, but --

Q Well, just with the floormen they've got
to -- every girl that's driving you've got to do a
breathalyzer?

A Yes.

Q And they've got to pay you, right?

A Yes.

oO They have to be in line to do all those

things, right?

A Yes.

 

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What else do they do with the floormen?

That's it.

Oo PF vO

How long does that process take?

A Five, 10 minutes, depending on how many

girls are left at closing.

oO And then they have to do the same thing
with -- or something similar with the house mom?
A They don't really have a check out with

the house mom.

Q You're talking about now?

A Correct.

They go get dressed and they clock out.

QO Prior to April the 9th, 2016, they had to
go through a check-out process with the house mom,
too, right?

A Yes.

Q Do you know how long it takes a girl to

cash in Cheetah Bucks?

A No.

Q Is that --

A It depends on how many girls are in line.
Q Tt could take a while?

A Yeah, it could.

D Do you know what these girls earn, on

average, a shift?

 

 

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Robert 'Bob' Johnson - October 23, 2017 47
A No.
Q What do you hear about that?
A Just a wide range.
Q You do -- or you've been involved in VIP

rooms for almost 27 years, right?

A Yes.

QO You're aware of entertainers making pretty
good money back in VIP, right?

A Yes.

oO Some of them could make a thousand, 2,000

a night, right?

A Yes.
QO Not uncommon?
A No.

MR. DUDLEY: 1 don't think I have anything

else. Do you guys want to talk for a brief

second?

MR. BERNEY: I just have a couple of quick

questions.
BXAMINATION
BY MR. BERNEY:
QO Mr. Johnson, I'm Chris Berney. [I

represent some of the other claimants in arbitrations.
You were talking about, with Mr. Dudley,

the floormen at the end of the night procedure that

 

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there were -- there's one floorman that collects the
money and another one that counts it. Are those
roles -- well, let me back up.

Is there a particular individual who is

always the one that counts the money?

A Yes.

Q Who is that?

A Usually Guy Robinson is -- he's our
executive host. He's usually our designated counter,

if he's there, which he usually is there most of the

time.
Q And is there a particular person who takes
the money from the entertainers?

A No.

Q Okay. So that role shifts, but they
usually give it to Guy Robinson, who then counts it,
and does he then divvy it up amongst the five people,
the floormen and yourself?

A The DJ helps him count, and we split it
up.

MR. BERNEY: I think that's all I have.
BXAMINATION
BY MR. CHAPMAN:
0 Are you ex-military?

A No, sir.

 

 

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Robert 'Bob' Johnson - October 23, 2017 49
Q Do you have a locker at the club?
A No, sir.
Q Do you have any place where you store

records of any kind?

A I'm not a paperwork kind of guy. I really

don't keep any --

Q Do you regularly fill out any kind of

paperwork at all?

A No, not really.

Q Do any of the floormen fill out any
paperwork?

A No.

QO When they divide the cash up, do they fill

out any paperwork for that?
A No.

QO What is it exactly that they're doing when

they divide that money up?
A They count the total money, and they
divide it by five.

Q Okay. So it's just purely splitting it

among the various employees there?

A Yes, sir.

Q The f£floormen?

A Yes, gir.

Q And all your work with the house moms, is

 

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of a disciplinary nature; is that right? You act as

kind of a disciplinary figure?

A To the house mothers?
Q No. With respect to the dancers and
entertainers. You said you got involved only with

inappropriate conduct in the VIP rooms; is that

correct?
A Yes.
Q Is there any other interaction you had

with the house moms?

A Constantly.

Q I mean, do you manage them, as the night
manager?

A Yes.

Q They report to youP

A Yes.

Qo When you say "constantly," give us some
examples -- some of the things you do.

A We communicate constantly on the radio,
looking for -- getting the stages covered. That would

probably be the primary communication that I have with

them throughout the night.

Q So you're managing getting girls on stage?
A Yes, sir.
QO And what else?

 

 

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Robert 'Bob’ Johnson - October 23, 2017 5i

 

 

A The house mothers, throughout the night,

that's pretty much it, unless there's a problem.

Q Do you deal with any intoxicated
entertainers?
A If someone igs intoxicated, we have the

house mother take them to the back and breathalyze
them and send them home. And then if there's an issue
that needs to be spoken to, then I speak to them when
they're sober.

MR. CHAPMAN: Thank you, sir.

MR. DUDLEY: I just have one follow-up to

that.

FURTHER EAAMINATION
BY MR. DUDLEY:
Guy is no longer with Cheetah?
No, he's still there.
He's still there?
Yes.

Guy works for Cheetah now?

P.O PF O PF DO

Yes.
MR. DUDLEY: Okay. All right. Thank you.
MR. WARD: I've got a few questions.

EXAMINATION

BY MR. WARD:

0 What kind of car do you drive?

 

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52 Robert 'Bob' Johnson - October 23, 2017
A A Nissan Juke.
OQ What year?
A Six years old.
QO Six years old.

Now, in any 12-month period have you
received several hundred thousand dollars in tips from

the dancers at The Cheetah?

A I wish.

Q Do you know -- is that yes or no?

A No.

Oo Do you know of any floorman who's received

several hundred thousand dollars in tips from dancers
in any given 12 months? Let's take the best 12 months
they've ever had.

A No.

Q Okay. What do you say about girls
alleging that collectively they've given hundreds of
thousands of dollars in tips to each one of you?

MR, DUDLEY: Objection.

THE WITNESS: I would say they're lying.

BY MR. WARD:

Q How badly?
A Offensively.
Q Fraudulently?

THE WITNESS: Yes.

 

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Robert ‘Bob’ Johnson - October 23, 2017 53

 

 

MR. BERNEY: Object to form.
MR. DUDLEY: I have some follow-ups,

actually.

FURTHER EXAMINATION
BY MR. DUDLEY:
Q Since he opened the door on your income

and your tips, can you tell me how much you grossed

from entertainers each year?

A No.

Q Can you tell me how much you claimed in
tips in any year on your tax returns in the last five
years?

A One to 200 a night.

Q Can you tell me whether you reported every

tip you received from entertainers on your tax

returns?
A I would take The Fifth on that question.
QO Well, I think your attorney, here, has

opened the door on that by asking you these questions.
MR. WARD: He's allowed to take The Fifth
on the individual question.

BY MR. DUDLEY:

Q So you're going to take The Fifth
Amendment on that, and you're not going to answer it?

A Correct.

 

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MR. DUDLEY: Okay. That's all I have.

(Whereupon the deposition was concluded at 5:38 p.m.)

(Pursuant to Rule 30(e) of the Federal Rules
of Civil Procedure and/or O.C.G.A.

9-11-30{e), signature of the witness has

been reserved.)

 

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ERRATA SHEET
I, ROBERT 'BOB' JOHNSON, the witness herein,
do hereby certify that I have read the transcript of my
deposition testimony dated October 23, 2017, and the
same is true and correct to the best of my knowledge
with the exception of the following changes noted below,
if any:

1) There are no changes noted.
2) The following changes are noted:

Pursuant to Rule 30(7) (e) of the Federal Rules
of Civil Procedure and/or the Official Code of Georgia
Annotated 9-11-30 (e), both of which read in part:

Any changes in form or substance which you desire to
make shall be entered upon the deposition... with a
statement of the reasons given... for making them.

Accordingly, to assist you in effecting corrections,

please use the form below:

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Deposition of ROBERT 'BOB'! JOHNSON

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ROBERT 'BOB' JOHNSON

Sworn to and subscribed before me,
this the day of , 20

 

Notary Public
My commission expires:

 

 

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DISCLOSURE

I, WHITNEY S. GUYNES, CCR, (WSG Reporting,
LLC) do hereby disclose pursuant to Article 10.B of the
Rules and Regulations of the Board of Court Reporting of
the Judicial Council of Georgia, that I was contacted by
the party taking the deposition to provide court
reporting services for this deposition, and there is no
contract that is prohibited by 0.C.G.A. 15-14-37(a} and
(b) or Article 7(c) of the Rules and Regulations of the
Board for the taking of this deposition.

There is no contract to provide reporting
services between WSG Reporting, LLC or any person with
whom I have a principal and agency relationship nor any
attorney at law in this action, party to this action, or
party having a financial interest in this action.

Any and all financial arrangements beyond my
usual and customary rates have been disclosed and

offered to all parties.

Voli Sy—

Whitney S. Guynes, B-1897
November 6, 2017

 

 

 

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CERTIFICATE

GEORGIA:

GWINNETT COUNTY

I hereby certify that the total transcript,
pages 5 through 53, represent a true, complete, and
correct transcript of the proceedings taken down by me
in the case aforesaid (and exhibits admitted, if
applicable); that the foregoing transcript is a true and
correct record of the evidence given to the best of my
ability.

The above certification is expressly withdrawn
upon the disassembly or photocopying of the foregoing
transcript, unless said disassembly or photocopying is
done under the auspices of myself, and the signature and
original seal is attached thereto.

I further certify that I am not a relative or
employee or attorney of any party, nor am I financially
interested in the outcome of the actions.

This the 8th day of November, 2017.

     
 

 

Whitney S. Guynég /.GER _BP1897
agen

 

 

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AMENDED CERTIFICATE

STATE OF GEORGIA
COUNTY OF GWINNETT

IN RE: ALISON VALENTE, JENNIFER BARLOW, KATHRYN
MONROE, SOPHIA SMITH, STEPHANIE LEBEAU on behalf
of themselves and all others similarly situated,

Vv

INTERNATIONAL FOLLIES, INC. et al

WITNESS: ROBERT 'BOB' JOHNSON

I hereby certify that in addition to the certification made on Page 58
of the transcript, the more than thirty (30) days provided the witness to read
and sign the original transcript has expired. Therefore, the original is being

filed without signature of the witness.

This the 10th day of January, 2018

Wwe Say —

Whitney S. Guynes, CCR - B-1897

 

oo,

 
